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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



FORWARD FINANCING LLC,
          Plaintiff,

v.
                                                             CA No.

Boersen Farms Inc
d/b/a Boersen Farms,
Dennis Boersen
and Stacey Boersen,
              Defendants.


                                      COMPLAINT

       Plaintiff Forward Financing LLC sues Boersen Farms Inc, Dennis Boersen, and

Stacey Boersen for breach of contract. Specifically, Plaintiff states and alleges as

follows:

                      PARTIES, JURISDICTION, AND VENUE

       1.!     Plaintiff is a Delaware corporation with its principal place of business at

36 Bromfield Street, Suite 210, Boston, Massachusetts 02108. All members of Plaintiff

are citizens of the Commonwealth of Massachusetts.

       2.!     Boersen Farms is a Michigan Corporation with its principal place of

business at 6241 Ransom St, Zeeland, MI 49464.

       3.!     Dennis Boersen is a principal of Boersen Farms who is a citizen of

Michigan and resides at 4678 72nd Ave, Zeeland, MI 49464.

       4.!     Stacey Boersen is a principal of Boersen Farms who is a citizen of

Michigan and resides at 6906 New Holland St, Hudsonville, MI 49426.
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       5.!     This Court has personal jurisdiction over Defendants because they transact

business in Massachusetts; contracted for the supply of services in Massachusetts; and

they regularly do business, engage in a persistent course of conduct, and derive

substantial revenue from services rendered in Massachusetts.

       6.!     This Court has subject jurisdiction pursuant to 28 U.S.C. § 1332(a)

because this lawsuit involves citizens of different states and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       7.!     Venue in this district is proper in accordance with 28 U.S.C. § 1391(a).

                                         FACTS

       8.!     On January 31, 2017, Plaintiff and Boersen Farms entered into a Future

Receipt Sales Agreement whereby Plaintiff purchased $224,250.00 of Boersen Farms’s

Future Receipts for the discounted purchase price of $150,000.00. A copy of the Future

Receipt Sales Agreement is attached hereto as Exhibit A.

       9.!     Pursuant to the terms of the Future Receipt Sales Agreement, Boersen

Farms was obligated to pay Plaintiff each business day a specified amount of funds

arising from the Future Receipts that Boersen Farms generated (not to exceed ten percent

(10%) of the Future Receipts generated in any given calendar month) until such time as

Plaintiff collected the full purchased amount of $224,250.00. Boersen Farms was not

obligated to pay Plaintiff its Future Receipts in the event Boersen Farms’s business

slowed down and its Future Receipts decreased or if Boersen Farms closed its business or

ceased to process payment devices.




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         10.!   In the Future Receipt Sales Agreement, Boersen Farms authorized

Plaintiff to file a financing statement pursuant to the Uniform Commercial Code, granting

Plaintiff a security interest in and evidencing the sale of the Future Receipts to Plaintiff.

         11.!   Plaintiff performed under the Future Receipt Sales Agreement by

depositing the purchase price of $150,000.00, less any agreed upon amounts into a bank

account designated by Boersen Farms.

         12.!   Between February 2, 2017 and April 6, 2017, Plaintiff received

$72,443.90 of the $224,250.00 of Future Receipts that Plaintiff purchased from Boersen

Farms.

         13.!   On or about April 7, 2017, Boersen Farms breached its obligations under

the Future Receipts Sale Agreement by failing to deliver to Plaintiff available and eligible

funds arising from Future Receipts that Plaintiff purchased.

         14.!   In the Future Receipt Sales Agreement, Dennis Boersen and Stacey

Boersen agreed to indemnify Plaintiff for any losses and damages incurred by Plaintiff in

any way relating to or growing out of Boersen Farms’s breach of the Future Receipts Sale

Agreement. Dennis Boersen and Stacey Boersen have refused to indemnify Plaintiff for

the losses and damages that Plaintiff has incurred because of Boersen Farms’s breach of

the Future Receipts Sale Agreement.

         15.!   By reason of the foregoing, and in accordance with the terms of the Future

Receipts Sale Agreement, Plaintiff is entitled to damages in the sum of $152,366.10,

which equals (i) the amount of Future Receipts that Plaintiff purchased from Boersen

Farms less the amount of funds arising from Future Receipts that Plaintiff received from

Boersen Farms and (ii) fees under Section 5 of the Future Receipts Sale Agreement.




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               CAUSE OF ACTION FOR BREACH OF CONTRACT

       16.!    Plaintiff incorporates paragraphs 1 through 15 as if fully set forth herein.

       17.!    Plaintiff has performed all of its obligations under the Future Receipts

Sale Agreement with Boersen Farms.

       18.!    On or about April 7, 2017, Boersen Farms breached its obligations under

the Future Receipts Sale Agreement by failing to deliver to Plaintiff available and eligible

funds arising from Future Receipts that Plaintiff purchased.

       19.!    Plaintiff is entitled to indemnity from Dennis Boersen and Stacey Boersen

for any losses and damages incurred by Plaintiff in any way relating to or growing out of

Boersen Farms’s breach of the Future Receipts Sale Agreement, but Dennis Boersen and

Stacey Boersen have refused to indemnify Plaintiff in further breach of the Future

Receipts Sale Agreement.

       20.!    As a result of Defendants’ breaches of the Future Receipts Sale

Agreement, Plaintiff suffered the monetary damages described herein.

       WHEREFORE, Plaintiff demands judgment against Defendants in the sum of

$152,366.10, which equals the value of the Future Receipts that Plaintiff purchased from

Boersen Farms less the amount of funds arising from Future Receipts that Plaintiff

received from Boersen Farms plus fees under Section 5 of the Future Receipts Sale

Agreement.




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                              Respectfully submitted,
                              Forward Financing,
                              By its attorney,

                              KIMBERLY EMERLING



                              ____________________________________
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